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April 2, 2024                                                                                                          Member of the Firm
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VIA ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 11D
New York, New York 10007
CastelNYSDChambers@nysd.uscourts.gov

Re:         Fairstein v. Netflix, Inc. et al., 20-cv-8042 (PKC)

Dear Judge Castel:

We represent Defendants in the above-captioned matter, and write regarding the upcoming
pretrial conference on April 3, 2024. We are prepared to address any issues the Court may wish
to raise at the conference. In the event that the Court may wish to prioritize certain of the
pending pretrial motions at the conference, and in accordance with Section 3(F) of Your Honor’s
Individual Practices in Civil Cases, Defendants respectfully request that the Court prioritize oral
argument on the following motions:

      •     Plaintiff’s Omnibus Motion in Limine

                  o I. Irrelevant and Prejudicial Scenes From “When They See Us” Should Be
                    Excluded

                  o II. Defendants Should be Precluded from Relitigating the Central Park Jogger
                    Case

                  o V. Evidence and Arguments Concerning The “Essence of Truth” Should Be
                    Precluded

                  o VI. Fairstein’s Private Emails Should Be Excluded

      •     Plaintiff’s Motion to Exclude Certain Testimony and the Expert Report of Defendants’
            Rebuttal Expert David P. Kaplan

      •     Plaintiff’s Motion to Exclude the Testimony and Expert Report of Defendants’ Rebuttal
            Expert Anthony Freinberg




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   •   Plaintiff’s Motion to Preclude Berry Welsh from Testifying about Irrelevant and
       Prejudicial Topics at Trial

   •   Defendants’ Motion in Limine No. 1: Motion to Have the Jury View the Series Before
       Opening Statements

   •   Defendants’ Motion in Limine No. 2: Motion to Bifurcate and Exclude References to
       Punitive Damages

   •   Defendants’ Omnibus Motion in Limine Regarding Plaintiff’s Purported Experts

   •   Defendants’ Motion in Limine No. 4: Motion to Exclude Reference to Annotations
       Provisions of Contracts

We thank the Court for its consideration of this request.

Respectfully submitted,

/s/ Bart Williams

Bart Williams

cc: All Counsel
